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              UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT oF PENNSYLVANIA
PATRICIA SCHOUPPE        1

               PLAINTIFF              CIVILACTION - LAW

v.

BLACKSLEE POST OFFICE,                JURY TRIAL DEMANDED
U.S. POST OFFICE,
KIRBY UPRIGHT d/b/a
LAMPLIGHTER ASSOCIATES
AND KIRBY UPRIGHT d/b/a
LAMPLIGHTER ASSOCIATES               NO: 3:16-CV-00290-UN4
OF GP

          DEFENDANTS
 ANSWER oF DEFENDANTS, KIRBY UPRIGHT D/B/A LAMPLIGHTER
    ASSOCIATES AND KIRBY UPRIGHT D/B/A LAMPLIGHTER
       ASSOCIATES oF GP To PLAlNTlFF'S COMPLAINT


     Now comes the Defendants, Kirby Upright d/b/a Lamplighter

Associates and Kirby Upright d/b/a Lamplighter Associates of GP, by and
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through their attorneys, Marshall Dennehey Warner Coleman 8< Goggin.,

P.C. and answers the Plaintiff's Complaint as follows:

      1.    Answering Defendants lack sufficient knowledge to admit the

averments in paragraph 1 of the Plaintiff's Complaint therefore said

averments are denied.

      2.     Admitted.

      3.     Admitted.

      4.     Answering Defendants lack sufficient knowledge to admit

paragraph 4 of the PIaintiff's Complaint therefore denies same.

      5.    The averments contained in paragraph 5 of the Plaintiff's

Complaint are conclusions of law therefore a responsive pieading is not

required. Should a responsive pleading be required said averments are

denied.

      6.    The averments contained in paragraph 6 of the Plaintiff's

Complaint are conclusions of law therefore a responsive pleading is not

required. Should a responsive pleading be required said averments are

denied.

      7.    Ad mitted .

      8.    Ad mitted .
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      9.     The averments contained in paragraph 9 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied .

       10.   The averments contained in paragraph 10 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pieading be required said averments are

denied.

       11.   Answering Defendants lack sufficient knowiedge to admit the

averments in paragraph 11 of the Plair1tiff's Compiaint therefore said

avermermts are denied.

       12.   Answering Defendants lack sufficient knowledge to admit the

averments in paragraph 12 of the Plaintiff's Complaint therefore said

averments are denied.

       13.   Answering Defendants lack sufficient Knowiedge to admit the

averments in paragraph 13 of the Plaintiff's Compiaint therefore said

averments are denied.

       14.   Answering Defendants lack sufficient knowiedge to admit the

averments in paragraph 14 of the Plaintiff's Complaint therefore said

averments are denied.
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      15.    The averments contained in paragraph 15 in the Plaintiffs

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied.

      16.    The averments contained in paragraph 16 in the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied.

      17.    The averments contained in paragraph 17 in the PIaintiff's

Complaint are conclusions of iaw to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied.

                         CLAIMS FOR RELIEF
                               COUNT |
                            NEGLIGENCE
          PLAINTIFF, PATRICIA SCHOUPPE v ALL DEFENDANTS


      18.    With regard to the averments contained in paragraph 18 of the

Plaintiff's Complaint the Answering Defendants incorporate their responses

to the paragraphs referenced therein as if set forth here at length.
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      19.    The averments contained in paragraph 19 are conclusions of

law to which no response is required. Should a responsive pleading be

required said averments are denied.

      20.    The averments contained in paragraph 20 of PIaintiff's

Complaint are denied.

      21 .    (a-i) The averments contained in paragraph 21 of Plaintiff's

Complaint are denied.

      22.     (a-i) The averments contained in paragraph 22 of Plaintiffs

Complaint are denied.

      23.     The averments contained in paragraph 23 of P!aintiff's

Complaint are denied.

      24.     The avermermts contained in paragraph 24 of Plaintiff's

Complaint are denied.

      25.    The Answering Defendant lacks sufficient information or

knowledge to admit the averments contained in paragraph 25 of the

PIaintiff's Complaint therefore said averments are denied.

      26.     The averments contained in paragraph 26 of PIaintiff's

Complaint are denied.

      27.     The averments contained in paragraph 27 of Plaintiff's

Complaint are denied.

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      28.     The averments contained in paragraph 28 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied.

      29.     The Answering Defendant lacks sufficient information or

knowledge to admit the averments contained in paragraph 29 of the

Plaintiff's Complaint therefore said averments are denied.

      WHEREFORE, Answering Defendants hereby request this Honorable

Court to dismiss the Plaintiff's Complaint and award costs and fees in favor

of Answering Defendants.

                            COUNT Il
                      PLAINTIFF v DEFENANT
             RESPONDEAT SUPERIORNICARIOUS LIABILITY


      30.    With regard to the avermerits contained in paragraph 30 of the

Plaintiff's Complaint the Answering Defendants incorporate their responses

to the paragraphs referenced therein as if set forth here at length.

      31.     The averments contained in paragraph 31 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pieading be required said averments are

denied.
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      32.    The averments contained in paragraph 32 of the PIaintiff's

Complaint are conclusions of iaw to which no responsive pleading is

required. Should a responsive pleading be required said averments are

denied.

      33.    The averments contained in paragraph 33 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Shouid a responsive pleading be required said averments are

denied.

      34.    The averments contained in paragraph 34 of the Plaintiff's

Complaint are conclusions of law to which no responsive pleading is

required. Should a responsive pleading be required said avermerats are

denied.

      Wherefore, Answering Defendants hereby request this Honorable

Court to dismiss the PIaintiff's Complaint and award costs and fees in favor

of Answering Defendants.

                        FIRST AFFIMATIVE DEFENSE


      35.    The Answering Defendant ciaims that tne defense of

comparative/contributory negligence as the Plaintiff's fall was caused solely

by her own negligence. In the alternatiVe while the Answering Defendant

admits no negligence on its behalf any negligence that may be found
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against the Answering Defendant wi!! be outweighed when compared to

that of the Plaintiff.

                         SECOND AFFIRMATIVE DEFENSE


       36.    PIaintiff's claim may be barred in whole or in part bv the

applicable statute of limitations.

                          THIRD AFFIRMATIVE DEFENSE


       37.    Any and all of the PIaintiff's injuries may have been through

other events or conditions. Discovery is ongoing.

                         FOURTH AFFIRMATIVE DEFENSE


       38.    Plaintiff may have failed to mitigate her original damages.

Plaintiff may have had an opportunity to avoid the incident and failed to

take that opportunity. Discovery is ongoing.

                          FIFTH AFFIRMATIVE DEFENSE


       39.    Plaintiff has failed to state a claim upon which relief can be

granted.

       Wherefore, the Answering Defendants, Kirby Upright           d/b/a

Lamplighter Associates and Kirby Upright d/b/a Lamplighter Associates of
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GP, hereby request that judgment be entered in their favor and against the

Co-Defendant and Plaintiff plus costs.

                 CROSS CLAIM PURSUANT To F.R.C.P. 13


      40.    Moving Defendants, Kirby Upright d/b/a Lamplighter Associates

and Kirby Upright d/b/a Lamplighter Associates of GP, incorporates bv

reference without adoption or omission as if the same were set forth herein

fully in the PIaintiff's Original Complaint and states that the Oo-Defendant,

Blakeslee Post Office and Us Post Office, are liable on the cause or

causes of action alleged. The allegations contained in this Answer are

incorporated herein by reference as fully as though set forth at length.

      41.    The Moving Defendants expressly deny any liability to the

Plaintiff. lf the Moving Defendants are liable to the Plaintiff, which liability is

denied, then the Co-Defendants, Blakeslee Post Office and the US Post

Office are jointly and severally liable over to the Moving Defendants on the

cause or causes of action alieged.

      42.    Defendants, Blakeslee Post Office and US Post Office, are

joined to protect the Answering Defendants right of indemnity and/or

contribution and the Answering Defendants allege that said Defendants are

alone liable or, in the alternative, liable over to the Answering Defendants
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or alternatively are jointly and severally liable, the existence of any liability

on the part of the Answering Defendants being denied.

       43.     It is the Moving Defendants position that Defendants, Blakeslee

Post Office and US Post Office were completely responsible for the care

and maintenance of the parking lot where the alleged incident occurred and

as such they are solely liable for this loss.

       Wherefore, the Moving Defendants, Kirby Upright d/b/a Lamplighter

Associates and Kirby Upright       d/b/a Lamplighter Associates of GP, hereby

request that judgment be entered in their favor.

                                         Respectfully submitted,

                                         MARSHALL, DENNEHEY, WARNER,
                                         COLEMAN 8< GOGGIN
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              UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT oF PENNSYLVANIA
PATRICIA SCHOUPPE

                   PLAINTIFF                CIVIL ACTION - LAW

v.

BLACKSLEE POST OFFICE,                      JURY TRIAL DEMANDED
U.S. POST OFFICE,
KIRBY UPRIGHT d/b/a
LAMPLIGHTER ASSOCIATES
AND KIRBY UPRIGHT d/b/a
LAMPLIGHTER ASSOCIATES                      NO: 3:16-CV-00290-UN4
OF GP

                 DEFENDANTS
                       CERTlFICATE OF SERVICE
       |,John T. McGrath, Esquire, hereby certify that on March 16, 2016, I served a
true and correct copy of a Answer with Affirmative Defenses and Cross-Claim via first
class United States Mail, postage paid, upon the following:

Joshua B. Goldberg, Equire
Anders, Riegel 8< Massington, LLC
128 E. Broad Street
Beth!ehem, PA 18018

Mark E. Morrison, Esquire
Assistant United States Attorney
228 Walnut Street, 2nd Floor
P.O. Box 11754
Harrisburg, PA 17108-1754
                                         Respectfully submitted,

                                         MARSHALL, DENNEHEY, WARNER,
                                         COLEMAN 8< GOGGIN
                                                         .../"""}
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